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                       Exhibit 4
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig "Deepwater           *           MDLN0.2179
   Horizon" in the Gulf of Mexico, on April          *
   20,2010                                           *           SECTION J
                                                     *
This document relates to:                            *
All Cases and No. 12-970                             *           HONORABLE CARL J.
                                                     *           BARBIER
                                                     *
                                                     *           MAGISTRATE JUDGE
                                                     *           SHUSHAN
                                                     *
                 REBUTTAL DECLARATION OF ANDREW T. KARRON

       I, Andrew T. Karron, do hereby declare that the following statements made by me under

oath are true and accurate to the best of my knowledge and belief:


           1. I am a partner in the law firm of Arnold & Porter LLP, resident in the firm's

Washington, D.C. office.     I am counsel for BP Exploration & Production Inc., BP America

Production Company, and BP p.l.c. (collectively, "BP") in the above-captioned case.             I

personally and directly participated in negotiating the Economic and Property Damages

Settlement Agreement, as amended (the "Settlement Agreement"), which received final approval

from the Hon. Carl J. Barbier of the United States District Court for the Eastern District of

Louisiana (the "District Court") on December 21, 2012 (Rec. Doc. 8138, 8139). I previously

submitted two declarations in this matter on March 20, 2013. I am over the age of 18 and have

personal knowledge of the facts set forth in this declaration.

           2. I submit this declaration pursuant to the Court's October 25, 2013 Scheduling

Order. This declaration concerns discussions relating to the matter at issue before the execution

of the final amended Settlement Agreement on May 2, 2013, and responds to matters discussed
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in the declarations of Stephen Herman (Rec. Doc. 11804-1) and Rhon Jones (Rec. Doc. 11804-

26).

             3. Section 4.4.13 .4 of the Settlement Agreement as originally executed and filed on

April18, 2012 (Rec. Doc. 6276-1) provided as follows:

                Retained professionals must sign and attest they have submitted
                information in compliance with generally accepted accounting
                principles applied on a consistent basis and have not ignored the
                implications of information known or reasonably suspected to be
                untrue, incomplete, inconsistent or inaccurate.

             4. On or about April 24, 2012, I spoke with Plaintiffs' Steering Committee ("PSC")

counsel Joe Rice.     Mr. Rice stated that he had heard from accounting firms working with

claimants that the accountants could not sign the attestation required under Section 4.4.13.4. He

stated that the accountants had explained that, under applicable professional accounting

standards, "attest" is a term of art meaning that an accountant has performed an audit of the

financial statements. Mr. Rice said that, because the expectation was not that the accountants

would be conducting formal audits, the PSC wanted to modify the certification language of

Section 4.4.13 .4 to a form that the accountants could sign consistent with their professional

standards.    Otherwise, he said, the Section 4.4.13 provisions of the Settlement Agreement

providing for reimbursement for Claimant Accounting Support would be practically ineffective.

             5. Thereafter, PSC counsel and counsel for BP (collectively, the "Parties")

exchanged emails on April 24, 2012 setting forth proposed revisions of Section 4.4.13.4. True

and correct copies of those emails are set forth in Exhibits A and B to this Declaration.

             6. As reflected in the email attached as Exhibit A, I stated to PSC Counsel Brian

Barr that:

                Our understanding is that the accountants' concern is with attesting
                to compliance with any accounting standard in an unaudited
                submission. Accordingly, to ensure that we fully resolve the issue


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               while getting the assurance we all sought that financial information
               is submitted in good faith in a manner that makes year to year
               comparisons possible, we propose to edit the current language as
               follows:

               ... 4.4.13.4. Retained professionals must sign and attest they have
               submitted information on a consistent basis and have not ignored
               the implications of information known or reasonably suspected to
               be     untrue,     incomplete,    inconsistent    or     inaccurate.

           7. The email, Exhibit A, reflects that Mr. Barr responded that:

               As I understand the issue from the CP As that have called, they
               don't believe they can sign any statement that requires them to
               "attest." Attest is a term of art in the CPA world that requires them
               to audit material to ensure that the underlying financial documents
               are accurate. They wouldn't be able to rely on the monthly P&Ls
               but would have to perform an audit to ensure they are correct. The
               word attest implies that the professional has performed either an
               audit or review engagement and is providing some varying degree
               of assurance (depending on the type of engagement) that the
               information being attested to is correct. Since the work in this
               instance does not involve the performance of an audit or review of
               the client data they are not able to attest to the information being
               submitted.

           8. Mr. Rice also sent an email, attached as Exhibit B, stating:

              Do not think we can leave attest in can we change to this:
              .Retained professionals must verify that to the best of their
              knowledge [sic] They have submitted the information provided to
              them     by    the    claimant     on       a consistent  basis
              And have not ignored the implications .....

           9. After further email correspondence set forth in Exhibit B, the Parties agreed to

revised language for Section 4.4.13 .4.    On May 2, the Parties re-executed the Settlement

Agreement, which included the revised Section 4.4.13.4. As set forth in the Memorandum In

Support Of Joint Supplemental Motion Related To The Economic And Property Damages

Settlement (Rec. Doc. 6414-2), the Parties explained that:

              The parties have also made minor modifications to the Settlement
              Agreement itself, as indicated in Exhibits D and E. For example,
              the Amendment revises and clarifies Section 4.4.13.4 of the


                                              - 3-
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               Agreement governing the representations that must be made by
               retained accounting professionals for whose services claimants
               seek reimbursement pursuant to Section 4.4.13 of the Agreement.
               The revised language eliminates any requirement for an attestation
               regarding compliance with generally accepted accounting
               principles, which could have been construed under certain
               professional standards governing accountants to impose
               requirements that the Parties did not intend. The revised language
               more precisely reflects the verification that is required.

           10. The final language of Section 4.4.13.4 in the Settlement Agreement as amended

and approved by the Court on December 21, 2012 (Rec. Doc. 6430-1), reads as follows:

               Retained professionals must verify that to the best of their
               knowledge they have submitted information provided to them by
               the claimant on a consistent basis· and have not ignored the
               implications of information known or reasonably suspected to be
               untrue, incomplete, inconsistent or inaccurate.

           11. As set forth above, my recollection of the basis and purpose of the amendment to

Section 4.4.13.4 of the Settlement Agreement was to address the issue of the professional

responsibility rules governing accountants who would be assisting claimants in submitting

claims under the Settlement. In particular, it was intended to eliminate any requirement that the

accountant attest as to whether unaudited financial statements complied with any particular

accounting standard because, absent an audit, the accountants could not attest to compliance

consistent with their applicable professional standards. At the same time, it was intended to

preserve a requirement that the accountants employ a consistent basis of accounting and not

submit information known or reasonably suspected to be untrue, incomplete, inconsistent or

inaccurate, so that there could be some assurance against falsified or otherwise inaccurate data.

           12. The change in language did not result from any concern on BP's part that an

aspect of the process was "unduly burdensome and expensive," see Herman Decl. ,-r 20, but

rather for other reasons including, as reflected in Mr. Barr's email, that accountants had told the

.PSC that they could not "attest" to compliance with generally accepted accounting principles


                                               -4-
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without performing an accounting review or audit. See Ex. A. The change in language did not

reflect any statement by BP regarding how expenses and revenues . were to be treated for

purposes of calculating compensation.

           13. To my knowledge, in discussing the amendment of Section 4.4.13.4 regarding the

verification required of accountants for claimants seeking reimbursement for accounting services

provided in support of a claim, at no time did counsel for the Parties discuss the separate and

distinct issue of how accountants for the Court Supervised Settlement Program were to review

and use the submitted data in evaluating claims consistent with the requirements of the

Settlement Agreement.



       I make this declaration under penalties of perjury pursuant to 28 U.S.C. § 1746, and I

state that the facts set forth herein are true to the best of my knowledge, belief, and information.



Executed this 12th day ofNovember, 2013 in Washington, D.C.




                                                       Andrew T. Karron




                                                - 5-
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                       Exhibit A
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Karron, Andrew T.

From:                          James Roy [JIMR@wrightroy.com]
Sent:                          Tuesday, April 24, 2012 5:30 PM
To:                            Brian Barr
Cc:                            Karron, Andrew T.; Steve Herman; richard.godfrey@kirkland.com;
                               jeffrey.lennard@snrdenton.com; Joe Rice; Rhon Jones
Subject:                       Re: BP Oil - Accounting Standards


Seems fair. Jim

Sent from my iPhone

James P. Roy
Jimr@wrightroy.com
337-278-7892

On Apr 24, 2012, at 4:28PM, "Brian Barr" <BBarr@levinlaw.com> wrote:

        Andy:

        As I understand the issue from the CPAs that have called, they don't believe they can sign any
        statement that requires them to "attest." Attest is a term of art in the CPA world that requires
        them to audit material to ensure that the underlying financial documents are accurate. They
        wouldn't be able to rely on the monthly P&Ls but would have to perform an audit to ensure they
        are correct. The word attest implies that the professional has performed either an audit or
        review engagement and is providing some varying degree of assurance (depending on the type
        of engagement) that the information being attested to is correct. Since the work in this instance
        does not involve the performance of an audit or review of the client data they are not able to
        attest to the information being submitted.

        Suggested language below:

        Retained professionals must sign a statement that they have not ignored the implications of information
        known to be untrue, incomplete, inconsistent or inaccurate.



        From: Karron, Andrew T. [mailto:Andrew.Karron@APORTER.COM]
        Sent: Tuesday, April 24, 2012 2:45 PM
        To: Brian Barr; Steve Herman
        Cc: richard.qodfrey@kirkland.com; jeffrey.lennard@snrdenton.com; James Roy; Joe Rice; Rhon Jones
        Subject: RE: BP Oil - Accounting Standards

        Steve, Brian et al.:

        Thanks for your suggestions. Our understanding is that the accountants' concern is with attesting to
        compliance with any accounting standard in an unaudited submission. Accordingly, to ensure that we
        fully resolve the issue while getting the assurance we all·sought that financial information is submitted
        in good faith in a manner that makes year to year comparisons possible, we propose to edit the current
        language as follows:

                         4.4.13.4.         Retained professionals must sign and attest they have submitted
                         information in compliance with generally accepted accounting principles
                                                             1
   Case 2:10-md-02179-CJB-DPC Document 11836-4 Filed 11/12/13 Page 9 of 16


                 applied on a consistent basis and have not ignored the implications of information
                 known or reasonably suspected to be untrue, incomplete, inconsistent or inaccurate.

 Or, in clean version:

                  4.4.13.4.       Retained professionals must sign and attest they have submitted
                 information on a consistent basis and have not ignored the implications of information
                 known or reasonably suspected to be untrue, incomplete, inconsistent or inaccurate.

Please let me know if this is acceptable.   Thanks.




Andrew T. Karron
Arnold & Porter LLP
555 Twelfth Street, NW
Washington, DC 20004-1206

Tel.: 202-942-5335
Fax: 202-942-5999
Cell: 301-237-6221
Andrew Karron@aporter.com
www.arnoldporter.com


From: Brian Barr [mailto:BBarr@levinlaw.com]
Sent: Tuesday, April 24, 2012 3:13PM
To: Steve Herman; Karron, Andrew T.
Cc: richard.godfrey@kirkland.com; jeffrey.lennard@snrdenton.com; James Roy; Joe Rice; Rhon Jones
Subject: RE: BP Oil -Accounting Standards

For clarification, the first iteration below is the current wording. The proposed changes are the 2d or 3d
version.


From: Steve Herman [mailto:SHERMAN@hhkc.com]
Sent: Tuesday, April 24, 2012 1:59 PM
To: Karron, Andrew T.
Cc: 'richard.godfrey@kirkland.com'; jeffrey.lennard@snrdenton.com; James Roy; 'Joe Rice'; Brian Barr;
'Rhon Jones'
Subject: BP Oil- Accounting Standards

PRIVILEGED AND CONFIDENTIAL
SETILEMENT COMMUNICATION

See below.


From: Brian Barr [mailto:BBarr@levinlaw.com]
Sent: Tuesday, April 24, 2012 1:46 PM


Below is a proposed change:
                                                      2
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4.4.13.4. Retained professionals must sign and attest they have submitted information in compliance
with generally accepted accounting principles applied on a consistent basis and have not ignored the
implications of information known or reasonably suspected to be untrue, incomplete, inconsistent or
inaccurate.
OR
4.4.13.4. Retained professionals must sign and demonstrate they have submitted information in
compliance with generally accepted accounting principles or other comprehensive basis of accounting
(e.g. income tax basis) applied on a consistent basis and have not ignored the implications of
information known or reasonably suspected to be untrue, incomplete, inconsistent or inaccurate.
OR
4.4.13.4. Retained professionals must sign and demonstrate they have evaluated the information and
have not ignored the implications of information known or reasonably suspected to be untrue,
incomplete, inconsistent or inaccurate.




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                       Exhibit B
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Karron, Andrew T.

From:                         Karren, Andrew T.
Sent:                         Tuesday, April 24, 2012 6:51 PM
To:                           Rice, Joe
Cc:                           Brian Barr; Steve Herman; richard.godfrey@kirkland.com; jeffrey.lennard@snrdenton.com;
                              James Roy; Rhon Jones
Subject:                      RE: BP Oil -Accounting Standards


So it would read like this, right?



        4.4.13.4.         Retained professionals must verify that to the best oftheir knowledge they have
        submitted the information provided to them by the claimant on a consistent basis and have not ignored
        the implications of information known or reasonably suspected to be untrue, incomplete, inconsistent or
        inaccurate.




Andrew T. Karron
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Fax: 202-942-5999
Cell: 301-237-6221
Andrew_Karron@aporter.com
www.arnoldporter.com


From: Rice, Joe [mailto:jrice@motleyrice.com]
Sent: Tuesday, April 24, 2012 5:47 PM
To: Karren, Andrew T.
Cc: Brian Barr; Steve Herman; richard.godfrey@kirkland.com; jeffrey.lennard@snrdenton.com; James Roy; Rhon Jones
Subject: Re: BP Oil - Accounting Standards




Do not think we can leave attest in can we change to this:
.Retained professionals must verify that to the best of their knowledge They have submitted the information
provided to them by the claimant on a consistent basis
And have not ignored the implications .....




Sent from my iPad

                                                            1
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On Apr 24,2012, at 2:44PM, "Karron, Andrew T." <Andrew.Karron@APORTER.COM> wrote:

      Steve, Brian eta!.:



      Thanks for your suggestions. Our understanding is that the accountants' concern is with
      attesting to compliance with any accounting standard in an unaudited submission. Accordingly,
      to ensure that we fully resolve the issue while getting the assurance we all sought that financial
      information is submitted in good faith in a manner that makes year to year comparisons possible,
      we propose to edit the culTent language as follows:



                     4.4.13 .4.        Retained professionals must sign and attest they have submitted
                     information in compliance '.Vith generally accepted accounting principles
                      applied on a consistent basis and have not ignored the implications of
                     information known or reasonably suspected to be untrue, incomplete, inconsistent
                     or inaccurate.



      Or, in clean version:


                      4.4.13.4.         Retained professionals must sign and attest they have
                     submitted information on a consistent basis and have not ignored the implications
                     of int(mnation known or reasonably suspected to be untrue, incomplete,
                     inconsistent or inaccurate.



     Please let me know ifthis is acceptable.   Thanks.




     Andrew T. Karron

     Arnold & Porter LLP

     555 Twelfth Street, NW

                                                      2
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Cell: 301-237-6221

Andrew Karron@aporter.com

www.amoldporter.com




From: Brian Barr [mailto:BBarr@levinlaw.com]
Sent: Tuesday, April 24, 2012 3:13 PM
To: Steve Herman; Karron, Andrew T.
Cc: richard.godfrey@kirkland.com; jeffrey.lennard@snrdenton.com; James Roy; Joe Rice; Rhon Jones
Subject: RE: BP Oil - Accounting Standards




For clarification, the first iteration below is the current wording. The proposed changes are the
2d or 3d version.




From: Steve Herman [mailto:SHERMAN@hhkc.com]
Sent: Tuesday, April 24, 2012 1:59 PM
To: Karron, Andrew T.
Cc: 'richard.godfrey@kirkland.com'; jeffrey.lennard@snrdenton.com; James Roy; 'Joe Rice'; Brian Barr;
'Rhon Jones'
Subject: BP Oil - Accounting Standards




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SETTLEMENT COMMUNICATION



See below.




From: Brian Barr [mailto:BBarr@levinlaw.comJ
Sent: Tuesday, April 24, 2012 1:46 PM


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Belmt' is a proposed change:



4.4.13.4. Retained professionals must sign and attest they have submitted information in
compliance with generally accepted accounting principles applied on a consistent basis and
have not ignored the implications of information known or reasonably suspected to be
untrue, incomplete, inconsistent or inaccurate.

OR

4.4.13.4. Retained professionals must sign ·and demonstrate they have submitted
information in compliance with generally accepted accounting principles or other
comprehensive basis of accounting (e.g. income tax basis) applied on a consistent basis and
have not ignored the implications of information known or reasonably suspected to be
untrue, incomplete, inconsistent or inaccurate.

OR

4.4.13.4. Retained professionals must sign and demonstrate they have evaluated the
information and have not ignored the implications of information known or reasonably
suspected to be untrue, incomplete, inconsistent or inaccurate.




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